  Case: 1:21-cv-02522 Document #: 339 Filed: 03/20/23 Page 1 of 3 PageID #:14266




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 WALGREEN CO.,                                     )
                                                   )
                          Plaintiff,               )
                                                   ) Civil Action No. 1:21-cv-02522
 v.                                                )
                                                   ) Judge M. David Weisman.
 AARON PETERS ET AL.                               )
                                                   )
                          Defendants.              )

                                   JOINT STATUS UPDATE

       Plaintiff Walgreen Co. (“Walgreens”) and Defendants file this Joint Status Update

pursuant to the Court’s March 7, 2023 Order. (Dkt. 338).

       1.      The Court’s ruling on the motions to dismiss is still pending at this time, and no

new discovery requests have been propounded, as the stay of further discovery remains in place

since October 13, 2022.

       2.      Since the Parties’ last status update to the Court, Walgreens, Peters, and L2

Partners (“L2”) have communicated regarding Walgreens’ expert’s ongoing forensic review of

the Aaron Peters L2-owned laptop.

       3.      Walgreens’ counsel requested permission from Peters and L2 to have its expert

review specific laptop folders on September 20, 2022. The Parties reached a resolution as to

each of those laptop folders except for one, named “free space” (the “Remaining Folder”).

       4.      Peters and L2 have completed their review of the Remaining Folder.

       5.      Peters and L2 have provided Walgreens with sector identifiers that will allow

Walgreens to know which limited sectors of the “free space” are subject to designations for

withholding pursuant to privilege, confidentiality, or otherwise.
  Case: 1:21-cv-02522 Document #: 339 Filed: 03/20/23 Page 2 of 3 PageID #:14267




       6.      However, Peters’ and L2’s experts are concerned that the file names possessed by

Walgreens’ expert may not match the file names given by Peters’ and L2’s expert for the files

subject to confidentiality and/or privilege designations.

       7.      The Parties are therefore conferring regarding the best manner to resolve this

technical issue with the assistance of their experts, including the possibility of having the experts

confer directly with the supervision of counsel.

       8.      Walgreens’ counsel has also requested permission to have its expert review an

email cache on the laptop for emails sent prior to Aaron Peters’ departure from Walgreens.

Walgreens requested such permission on January 31, 2023. Peters’ counsel indicated that they

would confer with their expert and provide a response to Walgreens on or before March 3, 2023.

As of the last Joint Status Update (Dkt. 337), Peters’ counsel indicated that they were still

conferring with the expert and L2 to ensure that no L2 confidential material is contained in the

referenced cache.

       9.      On March 17, 2023, Peters’ counsel informed Walgreens that while emails were

located within the email cache for the relevant time period, there were also many emails from

outside that time frame. Peters’ expert has concerns that separating part of the email cache,

including the emails within the relevant time frame, from the remainder of the cache may not be

possible.

       10.     Walgreens has therefore agreed to production of the individual emails dated

between 11/28/19 and 12/6/19 in their native format without production of the email cache itself.

Peters’ counsel is conferring with their expert to determine a timeline for that production.
Case: 1:21-cv-02522 Document #: 339 Filed: 03/20/23 Page 3 of 3 PageID #:14268




    Dated: March 20, 2023                 Respectfully submitted,

                                          PLAINTIFF WALGREEN CO.

                                          /s/ David M. Pernini ___________
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